Case 18-10126-reg Doc 1 Filed 0207/18 Page 1 of 41

Fiii in this information to identify your case:

    

United States Bankruptcy Court for the:
NORTHERN manor or |NDiANA

Case number Chapter you are ming under:
(|f known)

Chapter 7

Chapier 11

Chapier 12
Chapier 13 l:l Check if this is an

amended filing

 

foicial Form 101

Voluntary Petition for individuals Fi|ing for Bankruptcy 12/11

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For exampie, if a form asks, “Do you own a
car,” the answer would be yes if either debtor owns a car. When information is needed about the spouses separateiy, the form uses Debtor 1
and Debtor2 to distinguish between them. in joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2.
The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

-ldentify Yourself

1. Your full name

About Debtor 1: About Debtor 2 (Spouse On|y in a Joint Case):

Write the name that is on your
government~issued picture OGLOR

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

identification (for exampie, your F"St name Fir$t name
driver’s license or passport). K
Bring your picture Middle name Middle name
identification to your meeting
with the trustee. HALLER
Last name Last name
Sufnx (Sr., Jr., ||, ll|) Suff)x (Sr., Jr., ii, |||)
2. Ali other names you have
used m the last 8 years First name First name
include your married or
malden names Middle name Middle name
Last name Last name
First name First name
Middle name Middle name
Last name 4 Last name
3. only the last 4 digits of
your Social Security XXX _ XX " ~9- -§- -g- -3- XXX ~ XX _ _ -- - -~
number or federal OR OR
individual Taxpayer 9 9
identification number XX " XX __ __ _- __ XX “ XX `“_-_ _ _ _
(lTlN)

 

 

Officia| Form 101 Voluntary Petition for individuals Fi|ing for Bankruptcy page 1

 

 

Debtor 1 QG|_OR

First Name

Middle Name

Last Name

giese 18-10126-£$&|_[£||?300 1 Fl|ed 02/07/18C Pla"g§(} not 41

ase n own)

 

4. Any business names and
Empioyer identification
Numbers (EiN) you have
used in the last 8 years

include trade names and
doing business as names

About Debtor 1:

l have not used any business names or EiNs.

About Debtor 2 (Spouse Only in a Joint Case):

l:l l have not used any business names or Ele.

 

Business name

Business name

 

Business name

Business name

 

 

 

 

 

 

 

 

 

EiN EiN
EiN EiN
5. Where you live if Debtor 2 lives ata different address:
1418 LAKEHURST DR.
Number Street Number Street
FORT WAYNE lN 46815
City Slate ZlP Code City State ZlP Code
ALLEN
County County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing addressl

if Debtor 2’s mailing address is different from the
one above, fill it in here. Note that the court will
send any notices to you at this mailing address

 

 

 

 

 

Number Street Number Street
city State ZlP Code city state ziP code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

Over the last 180 days before filing this petition, l
have lived in this district longer than in any other
district

m l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

l:l Over the last 180 days before filing this petition, l
have lived in this district longer than in any other
district

l:l l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101

Voluntary Petition for individuals Fiiing for Bankruptcy

page 2

 

 

Case 18-10126- reg Doc 1 Filed 02/07/18C Page 3 of 41

 

 

Debtor1 ()GLOR K_ HA|_|_ER Case num er (lf known
First Name Middle Name Last Name
Te|l the Court About Your Bankruptcy Case
7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for /ndividuals

Bankruptcy Code you are Fi/ing for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

choosing to file under Chapter 7

Chapter 11

ij

Chapter 12

l:l

Chapter 13

 

8. How you will pay the fee i will pay the entire fee when l file my petition. P|ease check with the cierk’s office in
your local court for more details about how you may pay. Typically, if you are paying the
fee yourself, you may pay With cash, cashiers check, or money order. |f your attorney is
submitting your payment on your behalf, your attorney may pay With a credit card or
check With a pre-printed address

l:l l need to pay the fee in installments |f you choose this option, sign and attach the
App/ication for /nd/'\/iduals to Pay Your Fi//ng Fee in /nstal/ments (Official Form 103A).

l:l i request that my fee be waived (You may request this option only if you are filing for
Chapter 7. By iaw, a judge may, but is not required to, waive your fee, and may do so only
if your income is less than 150% of the official poverty line that applies to your family size
and you are unable to pay the fee in installments). |f you choose this option, you must fill
out the Application to Have the Chapter 7 Fi//'ng Fee Wa/'ved (Officiai Form 103B) and me
it With your petition,

 

 

 

 

9. Have you filed for [:l NO
bankruptcy within the last
3 years? Yes. District NORTHERN When 12/01/2014 Case number 14-12983
MM / DD/YYYY
District EASTERN l\/|lCHlGAN When 06/29/2011 Case number 11-57997
MM / DD/YYYY
District When Case number
NlM / DD/YYYY
10.Are any bankruptcy NO
cases pending or being
filed by a Spouse Who is l:l Yes. Debtor Relationship to you
not filing this case with . _ _
you, or by a business District When Case number, if known
partner, or by an affiliate? MM / DD/YYYY
Debtor Relationship to you
District When Case number, if known
i\/liVl / DD /YYYY

 

l:l Ne. co to line 12.

11.Do ou rent our
y y Yes. i~las your landlord obtained an eviction judgment against you?

residence?

Ne. co to line 12.

l:l Yes. Fill out In/'t/'a/ Statement/lbout an Evl'ction JudgmentAga/'nst You (Form 101A) and file
it with this bankruptcy petition.

 

 

Offioial Form 101 Voluntary Petition for individuals Fiiing for Bankruptcy page 3

 

 

Debtor 1 OGLOR

er (if known)

Case 18-10126-reg Doc 1 Filed 02/07/18 Partrge 4 of 41
k. HA LER Casenu

First Name Middle Name Last Name

Report About Any Businesses You Own as a Sole Proprietor

 

 

 

 

 

 

Chapter 11 of the
Bankruptcy Code and are
you a small business
debtor?

For a definition of small

business debtor, see 11
U.S.C, § 101(51D).

14. Do you own or have any

property that poses or is

alleged to pose a threat Of m Yes. What is the hazard?

imminent and identifiable
hazard to public health or
safety? Or do you own
any property that needs
immediate attention?

For examp/e, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

12. Are you a sole proprietor NO_ GO to part 4_

of any fuii- or part-time

bUSiHGSS? m Yes. Name and location of business

A sole proprietorship is a

business you operate as an

individual, and is not a Name of business ifany

separate legal entity such as a

corporation, partnership, or

LLC.
Number Street

if you have more than one sole

proprietorship, use a separate

sheet and attach it to this

petition.

City State ZiP Code
Check the appropriate box to describe your business.'
l:l Heaith Care Business (as defined in 11 U.S.C. § 101(27A))
l:l Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
l:l Stockbroker (as defined in 11 U.S.C. § 101(53A))
m Commodity Broker (as defined iri 11 U.S.C. § 101(6))
l:l None of the above
13. Are you filing under /f you are filing under Chapter 11, the court must know whether you are a small business debtor so that it

can set appropriate deadlines if you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

No. | am not filing under Chapter 11.

m No. l am filing under Chapter 11, but l am NOT a small business debtor according to the definition
in the Bankruptcy Code.

l:l Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

-No

 

 

if immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

city slate __zlP code

 

 

Official Form 101

Voluntary Petition for individuals Fiiing for Bankruptcy

page 4

 

Case 18-10126-reg Doc 1 Filed 02/07/18 Pa e 5 of 41
OGLOR K HALLER Case num er (if known)

First Name Middle Name Last Name

Explain Your Efforts to Receive a Briefing About Credit Counseling

Debtor 1

AboutDebtor1: About Debtor 2 (Spouse Only in a Joint Case):

15. Teil the court whether

you have received

You must check one: You must check one:

 

briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must truthfully
check one of the following
choices if you cannot do so,
you are not eligible to file,

if you file anyway, the court can
dismiss your case, you will lose
whatever filing fee you paid,
and your creditors can begin
collection activities again.

l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

l___l l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have
a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you iVlUST file a copy of the certificate and
payment pian, if any,

l'_'l l certify that l asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, Why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satisfied with your reasons, you must
still receive a brienng within 30 days after you file.
You must nle a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days

l:l l am not required to receive a briefing about

credit counseling because of:

ij incapacity. l have a mental illness or a
mental deficiency that makes me
incapable of realizing or making
rational decisions about finances

l:l Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after i
reasonably tried to do so.

l:l Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling With the court.

l:] l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
pian, if any, that you developed with the agency.

l:l l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have
a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you lVlUST file a copy of the certificate and
payment plan, if any.

l:l l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirementl attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied With your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satisfied with your reasons you must
still receive a briefing Within 30 days after you fiie.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days

l:l l am not required to receive a briefing about
credit counseling because of:

l:l lncapacity. l have a mental illness or a
mental deficiency that makes me
incapable of realizing or making
rational decisions about finances

l:l Disability. lvly physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l

reasonably tried to do so.

l.:l Active duty. | am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court

 

 

Official Form 101

Voluntary Petition for individuals Fiiing for Bankruptcy

page 5

 

Debtor 1

OGLOR

Flrst Name

Middle Name

noWn)

(KJ'ase 18-10126-|r_*eAg|-EF|§)00 1 Fl|ed O2/O7/18033€F:Lang§(iokof 41

Last Name

Answer These Questions for Reporting Purposes

 

16a Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)

 

 

 

 

 

sign Below

Foryou

16' Wha:‘ king of debts do as “incurred by an individual primarily for a personal, family, or household purpose.”
you ave.
l:l No. co lo line lob.
Yes. co to line 17.
16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment
No. colo line lee
l:l Yes. co to line 17.
160. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under
Chapter 7? i.__i No. l am not filing under Chapter 7. Go to line 18.
DO yOU estimate that after Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
any exempt property iS administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and
administrative expenses N°
are paid that funds will be m Yes
available for distribution
to unsecured creditors?
1a How many creditors do 1-49' l:l 1,000-5,000 l:l 25,001-50,000
you estimate that you l:l 50-99 l:l 5,001-10,000 l:l 50,001~100,000
°We? l:l 100-199 l:l 10,001-25,000 [] lvlore than 100,000
l:l 200-999
19- Ho\{v much do you $0-$50,000 l'_'l $l,ooo,ool-$lo million l:] $500,000,001-$1 billion
§:t:";‘°ar:eh))'°u' assets t° l:] $50,001~$100,000 l:] $10,000,001-$50 million l:l $1,000,000,001-$10 billion
- m $100,001-$500,000 i:i $50,000,001-$100 million i:i $10,000,000,001-$50 billion
l:l $500,001-$1 million l:l $100,000,001-$500 million l:l lvlore than $50 billion
20. How much do you. _ _ l___l $0-$50,000 l:l $1,000,001-$10 million l:l $500,000,001-$1 billion
§:t,;mate your "ab"'t'es t° $50,001-$100,000 l:l $10,000,001~$50 million l:l $1,000,000,001-$10 billion
' l:l $100,001-$500,000 l:l $50,000,001-$100 million El $10,000,000,001~$50 billion
l:l $500,001~$1 million [] sloo,ooo,ool-ssoo million l:l lvlore than $50 billion

 

18 U.S.C)C§i 341, 1511 and 3571.

)< Executed on i ’Zé " )7

l have examined this petition, and l declare under penalty of perjury that the information provided is true and
correct.

lfl have chosen to file under Chapter 7, l am aware that l may proceed, if eligib|e, under Chapter 7l 11, 12, or
13 of title 11, United States Code. l understand the relief available under each ohapter, and l choose to proceed
under Chapter 7.

if no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years or both.

X

Signature of Debtor 2

 

\/
Signature of Debtor 1

Executed on

lVlN|/DD/YYYY MM/DD/YYYY

 

Official Form 101

Voluntary Petition for individuals Fiiing for Bankruptcy page 6

 

 

 

Debtor 1 QGLOR K

Case 18-10126-

HAl_LER

First Name Middle Name Last Name

reg Doc 1 Filed 02/07/18 Page 7 of 41

Case num er (if known)

 

For your attorney, if you are
represented by one

if you are not represented by »~
an attorney, you do not need(

to file this page.

 
 
  

l, the attorney for the debtor(s) na
eligibility to proceed under Chapte

11, 12, or 13 of title 11, United States Code, and have explained the

relief available under each chapter for Which the person is eligible. l also certify that l have delivered to the

 

have no knowledge after an inquiry that he information in the schedules filed with the petition is incorrect

   

 

 

 

 

 

 

 

 

 

1 wi h `¢ /` ca
(__A ,_,,,_ Date / Z-é /<§:

Signature of Attorney'¢fror Debtor MM / DD / YYYY

FRED WEHRWE|N

Printed name /

FRED WEHRWE|N, PC

Firm name l L

1910 ST. JOE CENTE .

Number Street d

52 PAPERl\/l|LL OFF|CE PA

FORT WAYNE )/ lN 46825

City State ZlP Code

Contact phone 260-480-5700

1405-02
Bar number

Emai| address WEHRWE|NPC@AOL.COM

lN
State

 

Official Form 101

Voluntary Petition for individuals Fiiing for Bankruptcy

page 7

 

 

Page 8 of 41

Fil| in this information to identify your case:

 

 

 

Debtor1 OGLOR K. HALLER
Flrst Name Middle Name Last Name
Debtor 2
(Spouse, lt til|ng) Flrst Name Middle Name Last Name
United States Bankruptcy Court for the: NORTH ERN District of lN DIANA

 

Case number

 

rlfkn<>wn) l:l Checl< if this is an amended filing.

Official Form 1OGSum

Summary of Your Assets and Liabi|ities and Certain Statistical lnformation

your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. |f you are filing amended schedules after you file

 

1. Schedule A/B: Property(Official Form 106A/B)
1a Copy line 55, Total real estate, from Schedule A/B ......................................................................................................

1b. Copy line 62, Total personal property, from Schedu/e A/B ............................................................................................

Your assets
Value of what you own

$_____.9.-92

$ 2 540.00

 

1c. Copy line 63, Total of all property on Schedu/e A/B .....................................................................................................

 

$ 2,540.00

 

summarize Your Liabimies

 

2. Schedule D.' Creditors Who Have C/aims Secured by Property (Offrcial Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ...........

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6a of Schedu/e E/F ........................................

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ...................................

Your liabilities
Amount you owe

$ 15,000.00

$ 20,863.00

+$ 26,290.00

 

Your total liabilities

 

$ 62 153.00

 

;- Summarize Your income and Expenses

4. Schedu/e /.' Your/ncome (Officia| Form 106|)
Copy your combined monthly income from line 12 of Schedule / .......................................................................................

5. Schedu/e J.' Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22, Column A, of Schedule J ................................................................................

 

$ 3,680.00

$ 3,730.00

 

Official Form 1068um Summary of Your Assets and Liabi|ities and Certain Statistical information

page 1 of 2

 

 

 

 

Debtor 1

OGLOR

First Name Middle Name Last Name

m Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or13?

nown)

(}§ase 18-10126-LeAgLEIg)oc 1 Filed O2/07/186asel:’mangeer (?kof 41

No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

Yes

 

7. What kind of debt do you have?

fami|y, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

submit this form to the court with your other schedulesl

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,

l:l Your debts are not primarily consumer debts You have nothing to report on this part of the form. Check this box and

 

8. From the Statement of Your Current Monthly lncome: Copy your total current monthly income from Official
Form 122A»1 Line 11; OR, Form 122B Line 11; OR, Form 1220-1 Line 14.

 

 

$ 5105.00

 

 

 

9f.

 

9a.

9b,

90.

9d.

Qe.

99.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

From Part 4 on Schedule E/F, copy the following:

Domestic support obligations (Copy line 6a.)

Taxes and certain other debts you owe the government (Copy line 6b.)

Claims for death or personal injury while you were intoxicatedl (Copy line 60.)

Student loans. (Copy line 6f.)

Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.)

Debts to pension or proHt-sharing plans, and other similar debts. (Copy line 6h.)

Total. Add lines 9a through 9f.

Total claim

$____.____M

$ 19,563.00

$_______~QQQ
$_____O-U
$___.____Q-QQ
+$______OM

 

 

$ 19 563.00

 

 

 

Official Form 1063um

Summary of Your Assets and Liabilities and Certain Statistical information

page 2 of 2

 

 

Case 18-10126-reg

   

Fiii in this information to identify your case:

OGLOR

First Name

Debtor 1 .
Middle Name

Debtor 2

DOC 1 Filed 02/07/18

HALLER

Last Name

 

(Spouse, it iiian) First Name Middle Name

United States Bankruptcy Court for the: NORTHERN

Case number

 

(if known)

 

Last Name

orstn'ct or |NDiANA

 

Official Form 106A/B
Schedule AlB Property

Page 10 of 41

i:] Check if this is an amended filing.

12/15

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possib|e. if two married people are filing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional
pages, write your name and case number (if known). Answer every question.

Describe Each Residence, Building, Land, or Other Reai Estate You Own or Have an interest in

No. co to Part 2.
ij Yes. Where is the property?

 

Street address, if available, or other description

 

 

City State Z|P Code

 

County

if you own or have more than one, list here:

1.2.

 

Street address, if availabie, or other description

 

 

City State ZiP Code

 

County

 

What is the property? Check all that appiy.
l:| Singie-famiiy home

m Dupiex or multi-unit building

m Condominium or cooperative

m Manufactured or mobile home

i:l Land

l:i investment property

|:| Timeshare

[:| other

 

Who has an interest in the property? Check one.

L__i Debtor1 only

m Debtor 2 only

|:| Debtor1 and Debtor2 only

n At least one of the debtors and another

1. Do you own or have any legal or equitable interest in any residence, building, iand, or similar property?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule
D.' Credilors Who Have Claims Secured by
Property.

 

Current value of the Current value of the
entire property? portion you own?

$_____$

Describe the nature of your ownership
interest (such as fee simp|e, tenancy by
the entireties, or a life estate), if known.

 

m Check if this is community
property (see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

What is the property? Check all that app|y.
|:l Singie-family home

m Dupiex or multi~unit building

m Condominium or cooperative

m Manufactured or mobile home

i:| Land

m investment property

I:i Timeshare

|:I other

 

Who has an interest in the property? Check one.

m Debtor 1 only

l:| Debtor 2 only

m Debtor 1 and Debtor 2 only

ij At least one of the debtors and another

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule
D: Creditors Who Have Claims Secured by
Propelty.

 

Current value of the Current value of the
entire property? portion you own?

$_________$

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

m Check if this is community
property (see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

Official Form 106A/B

Schedule AlB: Property

page 1

 

 

 

Debtor 1 OG[_OR
First Name Middle Name

Case 18-10126-re/g Doc 1 Filed 02/07/18
k. H LLER C

Last Name

PB.

338 l'lU

ngbe 11 of 41

er (if known)

 

 

 

 

 

What is the property? Check all that apply.

 

Do not deduct secured claims or exemptions Put

 

 

 

 

l:l Singie-famiiy home the amount of any secured claims on Schedule D:
1_3_ [:| Dup|ex m multi_unit building Creditors Who Have Claims Secured by Property
Street address, if availabie, or other description ' ' '
§ Condomm'um or Coo?eratwe Current value of the Current value of the
Manufactured or mobile home entire property? portion you own?
m Land
l:] investment property $ $
m Timeshare
l:| Other Describe the nature of your ownership
interest (such as fee simple, tenancy by
City State ZiP Code the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
i__.l Debtor1 only
m Debtor 2 only
l:| Debtor1 and Debtor 2 only m Check if this is community property
l:l At least one of the debtors and another (See inSthCtiOnS)
County
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for ali of your entries from Part1, including any entries for pages $ 0 00
you have attached for Part 1. Write that number here .................................................................................... 9 `

 

 

 

Part 2: Describe Your Vehicies

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any
vehicles you own that someone else drives. if you lease a vehicie, also report it on Schedule G: Executory Contracts and Unexp/'red

Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

No
m Yes

3_1, l\/lake:
l\/iodel:
Year;
Approximate mileage:

Other information:

 

 

 

 

if you own or have more than one, describe here:

 

 

 

Who has an interest in the property? Check one.

Debtor1 only

Debtor 2 only

Debtor1 and Debtor2 only

At least one of the debtors and another

i:l l:|l][ll:i

Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Cred/tors Who Have Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

 

 

3.2, l\/lake: Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
l\/lodei: m Debtor 1 only Creditors Who Have Claims Secured by Property,
I:] Debtor 2 only
Year: i:] Debtor1 and Debtor 2 only Current value of the Current value of the
Approximate mireage: [:] At least one of the debtors and another entire Property? p°m°" you °W"?
Other information:
l:l Check if this is community property (see $
instructions) $
Official Form 106A/B Schedule A/B: Property page 2

 

 

Case 18-10126-reg Doc 1 Filed 02/07/18 Page 12 of 41

 

 

 

 

 

 

 

 

 

Debtor 1 OG|_OR K_ HA[_|_ER Case number (if known)
First Name Middle Name Last Name
3'3_ |V|ake; Wh° has an interest in the Property? Check °ne- Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
i\/iode|: m Debtor 1 only Creditors Who Have Claims Secured by Properfy.
m Debtor 2 only
Year: l:l Debtor1 and Debtor 2 only Current value of the Current value of the
Approximate mileage: m At least one of the debtors and another entire Pr°Pel'ti/? POl’tiOn you OWn?
Other information: _
ij Check if this ls community property (see
instructions) $ $
3_4, iViake; Wh° has an interest in the property? Check °ne- Do not deduct secured claims or exemptions Put
Debtor 1 on|y the amount of any secured claims on Schedule D:
Niodei: Creditors Who Have Claims Secured by Property.
Debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

Debtor 1 and Debtor 2 only
At least one of the debtors and another

i'_`i i:ii:ii]|:i

Check if this is community property (see
instructions)

Current value of the Current value of the
entire property? portion you own?

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples.' Boats, trailers, motors, personal watercraft, fishing vesseis, snowmobi|es, motorcycle accessories

-..No
l:l Yes

4_1. l\/iake:
i\/iodei:
Year:

Other information:

 

 

 

 

if you own or have more than one, list here:

 

 

 

 

Who has an interest in the property? Check one.

Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

i:l i:ii]i:]i`_'l

Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

\Do not deduct secured claims or exemptions Put

the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

 

 

 

 

4.2_ |V|ake; Do not deduct secured claims or exemptions Put

[] Debtor 1 only the amount of any secured claims on Schedule D,'

l\/iode|: Creditors Who Have Claims Secured by Propelty,
l:l Debtor 2 only

Year? l:l Debtor1 and Debtor 2 only Current value of the Current value of the

Other information: i:l At least one of the debtors and another entire Property? P°Fti°n you own?
l:l Check if this is community property (see

instructions) $ $
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages $ 0 00
you have attached for Part 2. Write that number here ....................................................................................................................... ') `

 

 

 

Official Form 106A/B

Schedule A/B: Property

page 3

 

 

(l;<ase 18-10126-r§}gLLE[£00 1 Filed 02/07/18 Casl§r§ keeriin§ng\)bjn§l

Debtor1 OG|_OR
First Name Middle Name Last Name
Describe Your Personal and Household items

Do you own or have any legal or equitable interest in any of the following items? :::tri:':]t;:lllu:v€;;he

Do not deduct secured claims
or exemptions

6. Household goods and furnishings
Examp/es: iVlajor appliances furniture, iinens, china, kitchenware

l:|..No
-..Yes. Describe.

 

APPL|ANCES, FURNITURE

$___1.MQ

 

 

 

7. Electronics

Examples.' Te|evisions and radios; audio, video, stereo, and digital equipment; computers, printers scanners; music
collections; electronic devices including cell phones, cameras, media piayers, games

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

E"NO , 2 TELEVlSlONS, 1 COl\/iPUTER, 1 PRiNTER, 1 CELL PHONE, 3 lV|ED|A PLAYERS
-..Yes. Describe. $ 800.00
8. Coilectib|es of value
Examp/es.' Antiques and figurines; paintings, prints, or other artwork; books, pictures or other art obiects;
stamp, coin, or baseball card collections; other collections memorabiiia, coilectibies
-.rNo
l:]..Yes. Describe. $
9. Equipment for sports and hobbies
Examples.' Sports, photographic, exercise, and other hobby equipment; bicycles pool tables, golf clubs, skis;
canoes and kayaks; carpentry tools; musical instruments
-..No
l:l.,Yes. Describe. $
10. Firearms
Examp/es.' Pistols, rifles shotguns, ammunitionl and related equipment
-..No
i:l..Yes. Describe. $
11. Ciothes
Examp/es: Everyday clothes, furs leather coats designer wear, shoes, accessories
[:i No
" EVERYD CLOTHlNG
I..Yes. Describe AY $ 500.00
12. Jewelry
Examples: Everydayjewelry, costume jewelry, engagement rings Wedding rings heirloom jewelry, watches, gems,
goid, silver
-..No
|:l.,Yes Describe. $
13. Non~farm animals
Examp/es: Dogs, cats, birds, horses
-..No
l:li.Yes. Describe. $
14. Any other personal and household items you did not already iist, including any health aids you did not list
-..No
E..Yes Describe $
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have $ 2 300 00
attached for Part 3. Write that number here .................................................................................................................................. ") '

 

 

 

 

Official Form 106A/B Schedule AlB: Property page 4

 

 

(%<ase 18-10126-rS/gLLEgoc 1 Filed 02/07/18 CasePna}rgnergA 0f)41

 

 

Debtor 1 ()GLOR known
First Name Middle Name Last Name
Describe Your Financiai Assets
Do you own or have any legal or equitable interest in any of the foilowing? Current Value Of the
portion you own?
Do not deduct secured
claims or exemptions
16. Cash
Examp/es: l\/loney you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
l:l No
X
Yes ................................................................................................................................................................... Cash: ________________ $ 1000

17. Deposits of money
Examp/es: Checking, savings or other financial accounts; certificates of deposit; shares in credit unions, brokerage
houses, and other similar institutions if you have multiple accounts with the same institution, list each.

 

 

 

 

 

 

 

 

 

 

 

 

l:l No
Yes .................. institution name:
17.1. Checking account: STAR BANK $ 100.00
17.2, Checking account $
17.3. Savings account: $
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other nnancial account: $
17.7. Other financial account: $
17.8. Other financial account $
17.9. Other financial account $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds investment accounts with brokerage firms, money market accounts
l:] No
L__] Yes ............... institution or issuer name:
$
$
$
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an
interest in an LLC, partnership, and joint venture
NO Name of entity: % of ownership:
m Yes. Give specific
information about _ 0.00 % $
them.
0.00 % 3
0.00 % $

 

 

Official Form 106A/B Schedule A/B: Property page 5

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Debtor 1 OGLQR K_ H |_|_ER Case number (ifknown)
First Name Middle Name Last Name
20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negot/'ab/e instruments include personal checks cashiers’ checks promissory notes, and money orders
Non~negotiab/e instruments are those you cannot transfer to someone by signing or delivering them.
No
m Yes. Give specific lssuer name:
information about $
them .....................
$
$
21. Retirement or pension accounts
Examp/es.' interests in lRA, ERlSA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit~sharing plans
l:l No
Yes. List each
account separatelyl Type of account institution name:
401(k) or similar plan: iViULT|l\/iATlC iNDlANA $ 30.00
Pension pian: $
iRA: ROTH $ 100.00
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples.' Agreements with landlords prepaid rent, public utilities (electric. gas, water), telecommunications
companies or others
No
m YeS ------------------------ institution name or individua|:
Eiectric: $
Gas: $
Heating oil: $ ,,,,,
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
$
Other:
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
m Yes ~~~~~~~~~~~~~~~~~~~~~~~~~~~ issuer name and description:
$
$
$
Official Form 106A/B Schedule AlB: Property page 6

 

Case 18-10126-reg Doc 1 Filed 02/07/18 Page 16 of 41
Debtor 1 QG|_OR K‘ HA|_|_ER Case number (if known)

First Name Middle Name Last Name

 

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
No

|:l Yes """"""""""""""""""""" institution name and description Separateiy me the records of any interests.ii U.S.C. § 521(<:);

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

-No

|:l Yes. Give specific
information about them. $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examp/es; internet domain names, websites, proceeds from royalties and licensing agreements

-No

[J Yes. Give specific
information about them. $

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits exclusive licenses cooperative association holdings liquor licenses professional licenses

.No

[:] Yes. Give specific
information about them. $

 

 

 

 

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you

 

E§] No
ij Yes. Give specific information about Federai: $
them, including Whether you
already filed the returns and the tax State; $
years ............................................
Locai: $

 

 

 

29. Fami|y support
Examp/es.' Past due or lump sum aiimony, spousal support, child support, maintenance, divorce settiement, property settlement

D§|No

ij Yes. Give specific information. ...........

 

Alimony:
i\/iaintenance:
Support:

616969

Divorce settlement $

 

 

Property settlement $

 

30. Other amounts someone owes you
Examp/es.' Unpaid wages, disability insurance payments disability benefits sick pay, vacation pay, workers’
compensation, Social Security benefits; unpaid loans you made to someone else

No
l:l Yes. Give specific information ............ ’

 

 

 

 

 

 

Official Form 106A/B Schedule AlB: Property page 7

 

 

Q<ase 18-10126-rE1gLLE[Fgoc 1 Filed 02/07/18 Casl§r§ §rg"zng&fnpl

Debtor 1 OG[_OR

First Name Middle Name Last Name

 

31. interests in insurance policies
Examp/es.' Heaith, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

[:]No

YesName the insurance company
of each policy and list its value. .....

Company name: Beneficiary: Surrender or refund
value:

GUARDIAN HEALTH iNSURANCE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

0.00
32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to
receive property because someone has died.
No
i:i Yes. Give specific information .......... $
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes insurance claims or rights to sue
No
l:l Yes. Describe each ciaim. .............. $
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
rights to set off claims
No
l:l Yes. Describe each claim ............. $
35. Any financial assets you did not already list
No
m Yes. Give specific information. $
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
attached for Part 4. write that number here .................................................................................................................................. -) $ __M

 

 

m Describe Any Business-Related Property You Own or Have an interest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
Ne. ce to Peri e.
l___i Yes. co to iine 38.

Current value of the
portion you own?

Do not deduct secured
claims or exemptions

38. Accounts receivable or commissions you already earned

i:lNo

l:] Yes. Describe. $

 

 

 

 

39. Office equipment, furnishings, and supplies
Examp/es: Business-related computers software, modems, printers copiers, fax machines rugs, telephones desks, chairs, electronic devices

m No
i:l Yes.Describe.. $

 

 

 

 

 

 

Official Form 106A/B Schedule AlB: Property page 8

 

 

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Debtor 1 ()G[_OR K_ HA|_|_ER Case number (if known)

First Name Middle Name Last Name

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

 

 

 

i:l No

i:l Yes. Describe.. $
41. inventory

ij No

l:i Yes. Describe.. $

 

 

 

42. interests in partnerships orjoint ventures

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m No
m Yes' Describe ~~~~~~ Name of entity: % of ownership:
0.00% $
0.00% $ 0.00
0.00% 3
43. Customer lists, mailing lists, or other compilations
i:l No
i:l Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41/\))?
l:l No
i:l Yes. Describe ......... $
44. Any business-related property you did not already list
m No
m Yes. Give $
specific
information $
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0_00
for Part 5. Write that number here ..................................................................................................................................................... 9

 

 

§Part 6: Describe Any Farm- and Commercial Fishing-Reiated Property You Own or Have an interest in.
‘ if you own or have an interest in farmiand, list it in Part1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.

|:l Yes. Go to line 47.
Current value of the

portion you own?

Do not deduct secured
claims or exemptions

47. Farm animals
Examp/es: Livestock, poultry, farm~raised fish

m No
i:l Yes ....................

 

$

 

 

 

Official Form 106A/B Schedule A/B: Property page 9

 

 

Debtor 1 OG[_OR

Q<ase 18-10126-rEgLLE[Fgoc 1 Filed 02/07/18 Casle:’rat temp"?nof 41

own)
First Name Middle Name Last Name

 

 

i:| Yes. Give specific

63.

48. Crops-either growing or harvested

i:iNo

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total of ali property on Schedule AlB. Add line 55 + line 62. ....................................................................................

information. ............ $
49. Farm and fishing equipment, impiements, machinery, fixtures, and tools of trade
i:i No
i:i Yes .....................
$
50. Farm and fishing supplies, chemicais, and feed
i:i No
i:i Yes ....................
$
51. Any farm~ and commercial fishing-related property you did not already list
i:] No
i:i Yes. Give specinc
information. ........ $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6, Write that number here ..................................................................................................................................................... 9 $ 0,00
Describe Ail Property You Own or Have an interest in That You Did Not List Above
53. Do you have other property of any kind you did not already iist?
Examp/es.' Season tickets country club membership
No $
E| Yes. Give
specific $
information .......
$
54. Add the dollar value of all of your entries from Part 7. Write that number here ............................................................... 9 $ ______-QM
List the Tota|s of Each Part of this Form
55. Part 'i: Total real estate, line 2 ................................................................................................................................................................. 9 $ ____M
56. Part 2: Total vehicles, line 5 $ 0.00
57. Part 3: Total personal and household items, line 15 $ 2 300.00
58. Part 4: Total financial assets, line 36 $ 240.00
59. Part 5: Total business-related property, line 45 $ 0.00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00
61. Part 7: Total other property not iisted, line 54 + $ 0.00
62. Total personal property. Add lines 56 through 61. ................. $ 2,540.00 Copy personal property total 9 + $ 2 540_()0

 

 

 

$ 2,540.00

 

 

Official Form 106A/B Schedule A/B: Property

page 10

 

 

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Fii| in this information to identify your case:

   

 

Debtor1 OGLOR K HALLER

First Name Middle Name Last Name

Debtor 2
(Spouse, if nling) First Name Middle Name Last Name

 

United States Bankruptcy Couri for the: NORTHERN Disin‘ci or lND|ANA

§§igor&gpber i:i Check if this is an amended filing.

 

Official Form 1060
Schedule C: The Property You Claim As Exempt 04/16

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt if more
space is needed, fill out and attach to this page as many copies of Part 2.' Additional Page as necessary. On the top of any additional pages write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you ciaim. One way of doing so is to state a
specific dollar amount as exempt. Aiternativeiy, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions~such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m identify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one on/y, even if your spouse is filing with you,

i:i You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
i:] You are claiming federal exemptions 11 U.S.C. §522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information beiow.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own exemption
Copy the value from Check only one box for each
Schedule A/B exemption
Brief i.C. 34~55~10~2(c)(2)
description: HOUSEHOLD cooos $ 1,000.00 $ 1 000,00
Line from i:i 100% of fair market value, up to:
Schedule 6 any applicable statutory limit
A/B.'
Brief i.C. 34-55-10~2(0)(2)
description: ELECTRON|CS $ 800.00 $ 300_00
Line from m 100% of fair market value, up to:
Schedule 7 any applicable statutory limit
A/B.'
Brief i.C. 34~55~10-2(0)(2)
description: CLOTHES $ 500~00 $ ___SM
Line from i:i 100% of fair market value, up to:
Schedule 11 any applicable statutory limit
A/B.'

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

No
m Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

i:] No
i:i Yes

 

 

 

Official Form 1060 Schedule C: The Property You Claim As Exempt 522 -5 §/¢7 page 1 ofg

 

Case 18-10126-re
OGLOR K. l-l LLE Case nu
First Name Middle Name

m Additional Page

Brief description of the property and line on

EDocl Filed 02/07/18 Pae2 0f4 41

Debtor1 ber (ifk no wn)

Last NameR

Current value of the Amount of the exemption you claim Specific laws that allow

 

Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B.'

portion you own

Copy the value from

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B
BANK ACCOUNT $ 100.00
17
RET|REMENT ACCOUNTS $ 130.00
21
INSURANCE POLlCY $ 0.00
31
CASH $ 10.00
16
$
$
$
$
$
$
$
$

 

Check only one box for each exemption

|Z|
[]

lZl
l:l

ljl] l:l[:l l:ll:l Ell:l |:ll:l l:ll:| Ell§l E|El

l:l[l

l:]l;l

$___MQ

100% of fair market value, up to:
any applicable statutory limit

$___M

100% of fair market value, up to:
any applicable statutory limit

$____M

100% of fair market value, up to:
any applicable statutory limit

$_______MQ

100% of fair market value, up to:
any applicable statutory limit

$

100% of fair market value, up to:
any applicable statutory limit

$

100% of fair market value, up to:
any applicable statutory limit

$

100% of fair market value, up to:
any applicable statutory limit

$

100% of fair market value, up to:
any applicable statutory limit

$

100% of fair market valuel up to:
any applicable statutory limit

$

100% of fair market value, up to:
any applicable statutory limit

$

100% of fair market value, up to:
any applicable statutory limit

$

100% of fair market valuel up to:
any applicable statutory limit

exemption

|.C. 34-55-10-2(0)(3l

 

 

 

|.C. 34-55~10~2§0)(6)

|.C. 34-55-10-2(0)(7)

 

 

 

|.C. 34-55~10~2(0)(3l

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

page _2_ Of _2_

 

 

Case 18-10126-re»

Fill in this information to identify your cases

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Debtor1 OGLOR K HALLER

First Name Middle Name Last Name

Debtor 2
(Spouse, if nling) F|rst Name Middle Name Last Name

 

United States Bankruptcy Court for the: NORTHERN Districth lND|ANA

Case number
(lf known)

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possib|e. |f two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

|:| Check if this is an amended filing.

 

1. Do any creditors have claims secured by your property?
cl No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.
Yes. Fill in all of the information below.

List All Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2. List all secured claims. lf a creditor has more than one secured claim, list the creditor Column A _ Column B Column C
separately for each claim. lf more than one creditor has a particular claim, list the other Am°“"t °f °'a'm Value °f c°"ater_a' U"S?°u"ed
creditors in Part 2. As much as possible, list the claims in alphabetical order according to the DO not deduct the tha_t S"PP°"tS th's p°"t'°"
creditor’s name. value of collateral C|alm rr any

SANTANDER Describe the property that secures the clalm. $ 15,000.00 $ $
Creditors Name
2008 DODGE CHARGER
P.O. BOX 105255
Number street As of the date you file, the claim is: Check all
that apply.
|:] Contingent
ATLANTA GA 30348 m U""q“idated
city state er code I:] Disputed
Wh° °Wes the debt? Check °“e- Nature of lien, Check all that apply.
m Debtor 1 only l:l An agreement you made (such as mortgage or
m Debtor 2 Only secured car loan)
m Debtor 1 and Debtor 2 Only m Statutory lien (such as tax lien, mechanic’s |len)
L__l At least one of the debtors and another [:I Judgment lien from a lawsuit
l:l cheek if this claim relates to a m Other ('"°'"d'"g a "g'“ '° °"Se°
community debt
Date debt was incurred Last 4 digits of account number
-2_'2-] Describe the property that secures the claim: $ $ $
Creditors Name
Number street As of the date you file, the claim is: Check all
that apply.
l:l Contingent
|Il unriqurdated
city state er code |'_`| Disputed
Wh° °Wes the debt? Check °ne' Nature of |ien. Check all that apply.
§ Debtor 1 only l:l An agreement you made (such as mortgage
m Debtor 2 only or secured car loan)
|:| Debtor 1 and Debtor 2 only g Statufory lien (such as tax lien, mechanic’s |ien)
At least one of the debtors and another m Judgmem lien from a lawsuit
m Check if this claim relates to a m Other (in°’udi“g a right l° °ffset)
community debt
Date debt was incurred Last 4 digits of account number
Add the dollar value of your entries in Column A on this page. Write that number here: $ 15 000.00

 

 

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of _1__

 

Page 23 of 41

Fill in this information to identify your case:

HALLER

Last Name

OGLOR K

Debtor 1 .
First Name Middle Name

Debtor 2
(Spouse, lf fillng)

 

Last Name

Districtoi lNDlANA

First Name Middle Name

United States Bankruptcy Court for the: NORTHERN

 

Case number
(lf known)

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PR|ORlTY claims and Part 2 for creditors with NONPR|OR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

List All of Your PR|ORlTY Unsecured Claims

 

l:l Check if this is an amended filing.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Do any creditors have priority unsecured claims against you?
l:l Ne. co to Part 2.
Yes.
z.List all of your priority unsecured claims lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim |isted, identify what type of claim it is. lf a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts As much as possible, list the claims in alphabetical order according to the creditor’s name. |f you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.
(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
Total claim Priority Nonpriority
amount amount
2.1
|D,R . Last 4 digits of account number $ _2._5_§§-_09 $ _ZM $ ___M
Prrorrty Creditor’s Name
100 N, SENATE AVE, When was the debt incurred?
Number Street
ROOM N240 As of the date you file, the claim is: Check all that app|y,
rNDrANAPoLrs rN 46206 m C°'?t‘“_gem
city state er cede Un|rqurdated
Who incurred the debt? Check one. |:| D'Sputed
§ §::::;; °::; Type of PRlOR|TY unsecured claim:
O
l:l Debtor1 end Debtor 2 enry m Domestic Supr>Orf Obligations
m At least one ofthe debtors and another Taxes and Celiain Other deth you OWe the
_ _ government
I:] Check lf this claim ls fora community debt m Claims for death or personal injury Whi|e you
re the craim subject te offeet? W@re intoxicated
No |:l Other. Specify
l:] Yes
2.2
|RS. . Last 4 digits of account number $ 17.000-00 $ 17,000.00 $ 0.00
Prronty Creditors Name
230 S. DEARBORN ST. When was the debt incurred?
Number Street
RM- 2560' 5015 CH| As of the date you file, the claim is: Check all that apply.
cr-rrcAGo rL 60604 m Contingent
city stare zlP code l:l Unliquidated
Hw incurred the debt? Check one. m Disputed
[‘_'| §:::;;; :::; Type of PR|ORlTY unsecured claim:
l:l Debtor1 and Debtor 2 only [:]` Domestic support obligations
l:l At least one of the debtors and another Taxes and certain other debts you owe the
_ government
[:| Check |f this claim ls fora community debt m Claims for death or personal injury Whi|e you
ls the claim subject to offset? were intoxicated
No [:] Other. Specify
l:] Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 11

 

 

Debtor 1 OGLOR
First Name Middle Name

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K. H LLER Cas

beerr known)

Last Name

Your PRloRlTY unsecured claims - continuation Pege

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Priority Creditors Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.
Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

El[l[l[ll:|

Check if this claim is for a community debt

ls the claim subject to offset?

 

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply,
m Contingent

l:l Unllquldated

ij Disputed

Type of PR|ORlTY unsecured claim:

l:] Domestic support obligations

l:] Taxes and certain other debts you owe the
government

l:] Claims for death or personal injury while you
were intoxicated

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Total claim Priority Nonprl<t)rity
amount am°lm
2.3 |
|V|l DEPT_ OF TREASURY Last 4 digits of account number $ 1.300.00 $ 1.300.00 $ 0.00
Priority Creditors Name
When was the debt incurred?
P.O. BOX 30166
Number Street _ _
As of the date you file, the claim is: Check all that
app|y.
LANerG lvll 48909 m C°r,"'n_ge"t
city state zlP code Unllquldated
l:l Dis uted
Who incurred the debt? Check one. p
[:| Debtor 1 Only Type of PRlOR|TY unsecured claim:
l:] Debtor 2 only |:| . . .
m Debtor 1 and Debtor 2 Only Domestic support obligations
l:l At least one of the debtors and another m Taxes and certain other debts you owe the
m Check if this claim ls for a community debt government
ls the claim subject to offset? l:] Claims for death or personal injury while you
No were intoxicated
m Yes Other. Specify
Last 4 digits of account number $ $ $ 0.00
Priority Creditofs Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
|:l Contingent
_ m Unllquldated
Clly State ZlP Code _
l:l Dlsputed
Who incurred the debt? Check one.
I___I Debtor 1 Only Type of PR|ORlTY unsecured claim:
m Debtor 2 Only m Domestic support obligations
m Debtor1 and Debtor2 only n ,
m At least one of the debtors and another Taxes and Certam Other deth you Owe the
overnment
m Check if this claim ls foracommunity debt [:] g ' _ . _
its he claim subject to offset? Claim-s for'death or personal injury while you
m NO were intoxicated
[:l Yes m Other. Specify
Last 4 digits of account number $ $ $ 0.00

 

N° l:l other s eerry
m Yes p
Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page __2__ of 11

 

 

Debtor 1 OGLOR

First Name Middle Name Last Name

m List Aii oneur NoNPRioRiTY unsecured cieirns

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K- H LLER Casen

u ber if known)

 

Yes

claims fill out the Continuation Page of Part 2.

3. Do any creditors have nonpriority unsecured claims against you?
[:] No. You have nothing to report in this part. Submit this form to the court with your other schedules.

 

 

 

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
priority unsecured claim, list the creditor separately for each claim. Foi' each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than four priority unsecured

 

 

 

 

 

 

Nonpriority Creditors Name

 

 

416 E. lVlAUMEE ST.

Number Street

ANGOLA lN 46703
City State ZiP Code

[:] Debtor1 only

m Debtor 2 only

m Debtor 1 and Debtor 2 only
El

l:l

At least one of the debtors and another

Check if this claim is for a community debt

ls the claim subject to offset?
No
m Yes

 

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

l:] Contingent

uniiquidated

l:l Disputed

Type of NONPRlOR|TY unsecured claim:

1:| Student loans

l:l Obligations arising out of a separation agreement
or divorce that you did not report as priority claims

[.__\ Debts to pension or profit-sharing plans, and other
similar debts

Other. Specify

` Total claim
4.1
::]AT&T MOBH_E Last 4 digits of account number 780.00
Nonpnomy Cred"ords Name When was the debt incurred?
P.O. BOX 6416
Number Street As of the date you file, the claim is: Check all that
cARoi_ sTREAM iL 60197 app'Y'
City State Z|P Code '
Wh ' cl th d bt'> Ch k m Contmgent
m o incurre e e . ec one. Un|iquidated
m Debtor 1 only m Disputed
Debtor 2 Only Type of NONPRlORiTY unsecured claim:
l:] Debtor 1 and Debtor 2 only m
m At least one of the debtors and another Student loans
_ _ _ ' _ |:\ Obligations arising out of a separation agreement
L__] Check if this claim is for a community debt . . . . .
or divorce that you did not report as priority claims
ls the claim subject to offset? l:] Debts to pension or profit~sharing plans, and other
No similar debts
|:1 Yes Other, Specify
4.2
__lAU-|~O CLUB GRP'/NCO F|N_ Last 4 digits of account number 269_00
N ‘ 't o d't r N
onpnony re m s ama When was the debt incurred?
P.O. BOX 15372
Number Street As of the date you file, the claim is: Check all that
wiLiviiNcToN DE 19850 apply-
City State ZiP Code m C t' t
. on ingen
Who incurred the debt? Check one.
m uniiquidated
m :e::°r; °n:y ij Disputed
e or on y .
T f NONPRlOR|TY d l :
l:l Debtor 1 and Debtor 2 only ype o unsecure c aim
m At least one of the debtors and another § Student loans
m Check if this claim is for a community debt Obligations arising out of a separation agreement
or divorce that you did not report as priority claims
is the ciaim Subject fO OffSef? |:1 Debts to pension or profit-sharing plans, and other
Nd simiier debts
l:] Yes Other. Specify
4.3 |
` CAMERON MEM_ HOSpi-j-A|_ Last 4 digits of account number 395,00

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

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Debtor 1 OGLC)R

First Name Middle Name Last Name

m Your NoNPRioRiTY unsecured cieims - continuation Page

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K. H LLER Case nu beri

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COMCAST
Nonpriority Creditor’s Name
P.O. BOX 3006
Number Street
SOUTHEASTERN PA 19398
City State Z|P Code

Who incurred the debt? Check one.

m Debtor 1 only

Debtor 2 only

Debtor1 and Debtor 2 only

At least one of the debtors and another

i:| ljl:|i:|

Check if this claim is for a community debt

ls the claim subject to offset?

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

|:] Contingent

uniiquidated

L__] Disputed

Type of NONPRlOR|TY unsecured claim:

l'_']
[:i

Student loans
Obligations arising out of a separation agreement or
divorce that you did not report as priority claims

Total claim

$ 860.00

 

 

 

 

 

 

Who incurred the debt? Check one.

[:] Debtor1 only

m Debtor 2 only

l:| Debtor 1 and Debtor 2 only

m At least one of the debtors and another

i:i

ls the claim subject to offset?
No
l:] Yes

Check if this claim is for a community debt

m Contingent
Unliquidated
[:] Disputed

Type of NONPRlOR|TY unsecured claim:

El
i:l

Student loans

Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
Debts to pension or profit-sharing plans, and other
similar debts

Other. specify

No m Debts to pension or profit-sharing plans, and other
l:\ Yes similar debts
Other. Specify
4.5
CRE_DiT ACQEPT. Last 4 digits of account number
Nonpriority Creditofs Name $ 9 331 .OO
P.O. BOX 5070 .
Number Street When was the debt incurred?
SOUTHFIELD |V|| 48086 As of the date you file, the claim is: Check all that
City State ZiP Code apply_

 

4‘6 CRED|T ACCEPT./GEOFFREY WERBER

 

 

Nonpriority Crediioi“s Name

 

 

3250 W. BlG BEAVER RD., #124

Number Street

TROY Ml 48084
City State ZiP Code

Who incurred the debt? Check one.
Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

|:| Ei[il]|:i

Check if this claim is for a community debt

is the claim subject to offset?
No
Yes

 

Last 4 digits of account number

When was the debt incurred?
As of the date you file, the claim is: Check all that
apply.

I:] Contingent
uniiquidated
1:] Disputed

Type of NONPRlORiTY unsecured claim:

ij
ij

l:l

Student loans

Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
Debts to pension or profit-sharing plans, and other
similar debts

Other. Specify DEFiciENcY FRoivi 2006 MERcuRY Mo...

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

Debtor 1 OG[_OR

First Name Middle Name Last Name

m Your NONPRlORiTY Unsecured Claims - Continuation Page

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P.O. BOX 630795

 

 

Number Street
CINC|NNAT| OH 45263
City State ZiP Code

Who incurred the debt? Check one.

m Debtor1 only

|:] Debtor 2 only

L__i Debtor 1 and Debtor 2 only

m At least one of the debtors and another

El

ls the claim subject to offset?
No
Yes

Check if this claim is for a community debt

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

l:| Contingent

uniiquideted

\:l Disputed

Type of NONPRlOR|TY unsecured claim:

l`_'i
i:l

Student loans

Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
Debts to pension or profit-sharing plans, and other
similar debts

Other. Specify

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
4.7
ER' DAV|D K WYSONG Last 4 digits of account number
onpriority Creditoi“s Name $ 93.00
Lgn§;r MF/;§|NERS DR` When was the debt incurred?
WARSAW lN 46582 As of the date you file, the claim is: Check all that
City State ZiP Code apply.
Who incurred the debt? Check one. m Contingent
l;l Debtcri cniy unliquidated
§ Debtor 2 only m Disputed
Debtor 1 and Debtor 2 only . _
|:] At least one of the debtors and another Type of NONPRlOR|TY unsecured C|a'm'
_ _ _ _ _ m Student loans
L_.i Check if this claim is for a community debt [_-_] . . . . .
Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No m Debts to pension or profit-sharing plans, and other
|:l Yes similar debts
Other. Specify
18 DTE ENERGY . .
Non nom Credime Name Last 4 digits of account number
p y $ 350.00

 

4.9

 

DUKE ENERGY/BULL C|TY FiN.

 

Nonpriority Creditcr’s Name

 

 

1107 W. lVlA|N ST.. #201

Number Street

DURHAM NC 27701
City State Z|P Code

Who incurred the debt? Check one.

El Debtor 1 cniy

ij Debtor 2 only

E] Debtor 1 end Debtor 2 oniy

m At least one of the debtors and another

l:l

ls the claim subject to offset?
No
Yes

Check if this claim is for a community debt

 

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

l:] Contingent

uniiquidated

L_..l Disputed

Type of NONPRlORiTY unsecured claim:

Student loans
Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
Debts to pension or profit-sharing plans, and other
similar debts
Other. Specify

 

$ 1 138,00

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

 

Debtor 1 OG|_OR

First Name Middle Name Last Name

Your NONPRlOR|TY Unsecured Claims - Continuation Page

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200 E. BERRY ST., #130

Number Street

FORT WAYNE lN 46802
City State Z|P Code

Who incurred the debt? Check one.

m Debtor1 only

Debtor 2 only

Debtor1 and Debtor 2 only

At least one of the debtors and another

l`_'l [li:l[l

Check if this claim is for a community debt

ls the claim subject to offset?
No
m Yes

 

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

l:] Contingent

uniiquideted

m Disputed

Type of NONPRlOR|TY unsecured claim:

l:l
l:l

Student loans
Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
Debts to pension or profit-sharing plans, and other
similar debts
Other. Specify

l:l

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
410 EMBLEM'V'C L t4d"t f t b o 4 4 3
Nonpriority Creditoi“s Name as 191 s o accoun num er_ ‘ " " $ 32,00
Number §t’rgz't BOX 790399 When was the debt incurred?
ST. LOUlS l\/lO 63179 As of the date you file, the claim is: Check all that
City State Z|P Code apply_
who incurred the debt? check one. m Contingent
m Debtor 1 only Unliquidated
§ Debtor 2 only |:l Disputed
Debtor1 and Debtor 2 only . l
l:l At least one of the debtors and another Type of NONPRlOR|TY unsecured c|a'm'
l:| ch k if this i ' ' f r c 't debt m Student loans
ec is un
C aim 0 a Omm l y l:] Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No m Debts to pension or pront~sharing plans, and other
Yes similar debts
Other. Specify
4.11
FlRST PREi\/llER BANK . .
Nonpriority Cred“m,s Name Last 4 digits of account number 1 _2_ § § $ 269-00
P.O. BOX 5529 .
Number Street When was the debt incurred?
SIOUX FALLS SD 57117 As of the date you file, the claim is: Check all that
City State Z|P Code app|y`
Who incurred the debt? check one. m Contingent
l_'_l Debtor1 oniy unliquidated
§ Debtor 2 only m Disputed
Debtor 1 and Debtor 2 only _ _
I:] At least one of the debtors and another Type of NONPRlOR|TY unsecured cla‘m`
_ _ , . _ ij Student loans
l:] Check if this claim is for a community debt m . , . . .
Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No ij Debts to pension or profit-sharing plans, and other
m Yes similar debts
Other. Specify
412 Fvi/ ciTY uTiLiTiEs . .
N . . . Last 4 digits of account number
onpriority Creditor's Name $ 168_00

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

 

Debtor 1 OG[_OR

First Name Middle Name

m Your NONPRlORiTY Unsecured Claims - Continuation Page

 

Last Name

 

 

 

 

 

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P.O. BOX 1567
Number Street
PAR|S TN 38242
City State Z|P Code

Who incurred the debt? Check one.
Debtor1 only

Debtor 2 only

Debtor1 and Debtor 2 only

At least one of the debtors and another

l:l i:ll:ll]l:l

Check if this claim is for a community debt

ls the claim subject to offset?
No
m Yes

 

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

m Contingent

Unliquidated

I:l Disputed

Type of NONPRlORiTY unsecured claim:

l:| Student loans
m Obligations arising out of a separation agreement or
divorce that you did not report as priority claims

l:l Debts to pension or profit-sharing plans, and other
similar debts
Other. Specify

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth. Total claim
4.13
wER.|TACCeEd.G'R\L' ApTS'/MERCH' & MED' CRED' Last 4 digits of account number
onpriority re itofs ame $ 298'00
S§nz:er ;{;;LOR DR‘ When was the debt incurred?
FL|NT Ml 48057 As of the date you file, the claim is: Check all that
city siate ziP code apply_
Who incurred the debt? Check one. l:l Contingent
|_*_i Debtor1 Only uniiquidated
§ Debtor 2 only l:l Disputed
Debtor1 and Debtor 2 only _ _
m At least one of the debtors and another Type of NONPRlOR|TY unsecured ele"n‘
_ _ _ _ _ I:| Student loans
\:] Check if this claim is for a community debt . . . . .
m Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No I:l Debts to pension or profit-sharing plans, and other
m Yes similar debts
Other. Specify
‘… PARi<viEvv . .
No . .i C adm N Last 4 digits of account number
npflOl`l y f l S ante $ 80800
Number :t'rge't BOX eeeo When was the debt incurred?
FORT WAYNE lN 46895 As of the date you file, the claim is: Check all that
city state ziP code app|y_
who incurred the debt? check one. m Contingent
1:] Debtor1 only Unliquidated
§ Debtor 2 only m Disputed
Debtor 1 and Debtor2 only . _
[:l At least one of the debtors and another Type of NONPRlOR|TY unsecured ele'm'
_ _ _ _ _ m Student loans
|:l Check if this claim is for a community debt , _ . _ ,
m Obligations arising out of a separation agreement or
is the claim subject to offset? divorce that you did not report as priority claims
No m Debts to pension or profit-sharing plans, and other
l:l Yes simiier debts
er. S ecify
oth p
4.15
EARK\./IEW/.MSCB Last 4 digits of account number
onpriority Crediloi‘s Name $ 894'00

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1

m Your NONPRlOR|TY Unsecured Claims - Continuation Page

 

4.16

 

 

OGLOR

First Name Middle Name

PREl\/|lER ACCEPT./JARED HELGE

Nonpriority Creditoi”s Name

P.O. BOX11194

(}J<ase 18-10126-r|e/gLEléa)oc 1 Filed 02/07/18033§nargoer§

Last Name

 

 

Number Street
FORT WAYNE lN 46856
City State ZiP Code

Who incurred the debt? Check one.

[:] Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

L_.l l:ll:ll:l

Check if this claim is for a community debt

ls the claim subject to offset?
No
l:l Yes

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e if nown)

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

l:l Contingent

uniiquidated

l:l Disputed

Type of NONPRlORiTY unsecured claim:

l:l Student loans

l:l Obligations arising out of a separation agreement or
divorce that you did not report as priority claims

l:] Debts to pension or profit-sharing plans, and other
similar debts

Other. specify coLi_EcTioN LAvvsuiT

Total claim

$ 5 593.00

 

 

 

PROF. RECOVERY

Nonpriority Creditofs Name

 

 

7319 W. JEFFERSON

Number Street

FORT WAYNE lN 46804
City State ZiP Code

Who incurred the debt? Check one.

l:l Debtor1 only

l:l Debtor 2 only

l__.l Debtor 1 and Debtor 2 only

l:l At least one of the debtors and another

[:l Check if this claim is for a community debt

ls the claim subject to offset?

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

l:l Contingent

Unliquidated

l:l Disputed

Type of NONPRlOR|TY unsecured claim:

l:l Student loans
L__l Obligations arising out of a separation agreement or
divorce that you did not report as priority claims

$ 970.00

 

 

 

 

 

Nonpriority Creditofs Name

P.O. BOX 790408

 

 

Number Street
ST. LOU|S l\/lO 63179
City State ZlP Code

Who incurred the debt? Check one.

[:l Debtor1 only

l:l Debtor 2 only

l:l Debtor 1 and Debtor 2 only

l:] At least one of the debtors and another
l:l

Check if this claim is for a community debt

ls the claim subject to offset?
No
Yes

No m Debts to pension or profit-sharing plans, and other
Yes similar debts
Other. specify
418 sALiN BANK

Last 4 digits of account numberl § 3 4
When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

l:l Contingent

uniiquideted

l:l Disputed

Type of NONPRlOR|TY unsecured claim:

l:l Student loans
l:l Obligations arising out of a separation agreement or
divorce that you did not report as priority claims

l:l Debts to pension or profit-sharing plans, and other
similar debts
Other. Specify

 

$ 347.00

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

 

Debtor 1 QGLOR

First Name Middle Name Last Name

Your NONPRlORiTY Unsecured Claims - Continuation Page

Case 18-10126-re/gl_ Doc 1 Filed 02/07/18 Pa e §1 of 41
K. H LER Casenu er if n

own)

 

 

419 sTATE oi= ivii

Nonpriority Creditofs Name

P.O. BOX 30158

 

 

 

 

Number Street
LANS|NG Ml 48909
City State ZiP Code

Who incurred the debt? Check one.

l:l Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

Ei [ll]l:l

Check if this claim is for a community debt

ls the claim subject to offset?
No
l:l Yes

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

l:l Contingent

uniiquideted

l:l Disputed

Type of NONPRlOR|TY unsecured claim:

l:l Student loans

l:l Obligations arising out of a separation agreement or
divorce that you did not report as priority claims

l:l Debts to pension or profit-sharing plans, and other
similar debts

Other. Specify

Total claim

$ 1,300.00

 

420 STATEW|DE CRED. ASSOC.

 

 

 

 

Last 4 digits of account number

 

 

 

 

 

 

803 S. CALHOUN. STE. 100

Number Street

FORT WAYNE lN 46802
City State ZiP Code

Who incurred the debt? Check one.
Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

l:l l:ll:|[ll:l

Check if this claim is for a community debt

ls the claim subject to offset?
No
Yes

 

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

l:l Contingent

unliquidated

l:l Disputed

Type of NONPRlOR|TY unsecured claim:

l:l Student loans

l:l Obligations arising out of a separation agreement or
divorce that you did not report as priority claims

l:l Debts to pension or profit-sharing plansl and other
similar debts

Other. Specify coi.LEcTioN tAWsuiT-AiviouNT uNK...

Nonpriority Creditor`s Name $ 395'00
P.O. BOX 20508 .
Number S&ree‘ When was the debt incurred?
lND|ANAPOLlS lN 46220 As of the date you file, the claim is: Check all that
City State ZiP Code app|y_
Who incurred the debt? Check one. m Contingent
[] Debtor 1 Only unliquidated
[l:|] Debtor 2 only l:l Disputed
Debtor 1 and Debtor 2 only . l
l:l At least one of the debtors and another Type of NONPRlOR|TY unsecured e{e'm'
_ _ _ _ _ l:l Student loans
l:l Check if this claim is for a community debt . . , . .
l:l Obligations arising out of a separation agreement or
ls the claim subject to offset? divorce that you did not report as priority claims
No m Debts to pension or profit-sharing plans, and other
Yes similar debts
Other. Specify
4.21
TFH.C‘.LLC/TAZ|AN/URBERG LAW Last 4 digits of account number
Nonpriority Creditor‘s Name $ O_OO

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

Debtor 1 OG]_QR

First Name Middle Name Last Name

Your NONPRlOR|TY Unsecured Claims - Continuation Page

Case 18-10126-re/g Doc 1 Filed 02/07/18 Pa e 32 of 41
K. H i_LER C

ase nu er (if known)

 

 

422 vERlzoN

Nonpriority Creditofs Name

P.O.BOX15124

 

 

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.

 

 

Number Street
ALBANY NY 1 221 2
City State Z|P Code

Who incurred the debt? Check one.

13 Debtor1 only

Debtor 2 only

Debtor1 and Debtor 2 only

At least one of the debtors and another

ij l]l:ll:|

Check if this claim is for a community debt

ls the claim subject to offset?
No
l:l Yes

Last 4 digits of account number

$ 2 000.00

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

l:l Contingent

unliquidated

1:] Disputed

Type of NONPRlORiTY unsecured claim:

1:| Student loans

1:] Obligations arising out of a separation agreement or
divorce that you did not report as priority claims

1:1 Debfs to pension or pront-sharing plans, and other
similar debts

Other. specify

Total claim

 

 

 

 

 

 

Last 4 digits of account number

 

 

 

 

 

Number Street

 

City State Z|P Code

Who incurred the debt? Check one.
Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

l] l:ll]l:ll:l

Check if this claim is for a community debt

ls the claim subject to offset?

l:l No
1:1 Yes

 

Nonpriority Creditofs Name $
Number Street When was the debt incurred?
City State z|P Code As of the date you file, the claim is: Check all that
apply.

Who incurred the debt? Check one. l:l Contingent
l:l Debtor 1 only 1:1 Unliquidated
m Debtor 2 Only m Disputed
l:l Debtor 1 and Debtor 2 only _
m At least one of the debtors and another Type of NONPRlOR|TY Unsecured Cla'm!
l:l check if this claim is for a community debt m Student '°a"S

l:l Obligations arising out of a separation agreement or
is the Claim Subject fO OffSef? divorce that you did not report as priority claims
§ NO l:l Debts to pension or profit-sharing plans, and other

Yes similar debts

1:1 Other. Specify

Nonpriority Creditor,$ Name Last 4 digits of account number $

When was the debt incurred?

As of the date you file, the claim is: Check all that
apply.

l:l Contingent

l:l Unliquidated

l:l Disputed

Type of NONPRlOR|TY unsecured claim:

m Student loans
1:1 Obligations arising out of a separation agreement or
divorce that you did not report as priority claims

[:l Debts to pension or profit-sharing plans, and other
similar debts
l:l Other. specify

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims page

 

 

Debtor 1 OG|__OR

First Name Middle Name Last Name

m Add the Amounts for Each Type of Unsecured Claim

Total claims
from Part 1

 

Ga.

60.

6d.

6e.

Total claims ef
from Part 21 69
6h.
6i.

Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you
were intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and
other similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6e.

61’.

69.

6h,

6i.

oi.

u ber if known)

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i<. H l_l_ER Casen

 

 

 

 

 

 

 

 

Total claim
$ ____m___M
$ 19 563.00
$ _________O~_OO
+ $ 1 300,00
$ _~___Z_OJMQ
Total claim
$ o.oo
$ 0.00
$ _______Q._O.Q
+ s 26 290.00
$ _____ZQ._Z_QLQQ

 

 

1. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
Add the amounts for each type of unsecured claim.

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 11 of 11

 

 

 

Case 18-10126-reg Doc 1 Filed 02/07/18 Page 34 of 41

Fill in this information to identify your case:

Debtor1 OGLOR K HAl l FR

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: NORTHERN Districtcf |NDIANA

Case number
iifi<ndwn) [:l Check if this is an amended filing.

 

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?

1:1 No. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.
Yes. Fill in ali of the information below even if the contracts or leases are listed on Schedule A/B.' Property (Ofncial Form 106A/B).

2. List separately each person or company with whom you have the contract or lease, Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

2-1 ivioNTHLY RENT

lVlBA RENTAL PROPERT|ES

Name

P.O. BOX 42756

Number Street

FORT WAYNE lN 46864

City State ZiP Code
2.2

Name

Number Street

City State ZiP Code
2.3

Name

Number Street

City State ZiP Code
2.4

Name

Number Street

City State ZiP Code
2.5

Name

Number Street

City State Z|P Code

 

 

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of _1_

 

 

Case 18-10126-reg Doc 1 Filed 02/07/18 Page 35 of 41

Fill in this information to identify your case:

 

 

 

Debtor1 OGLOR K. HAl LER
First Name Middle Name Last Name
Debtor 2
(Spousel if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: NORTHERN District of lN DlAN/\

 

Case number
(lf known)

 

 

l:l Check if this is an amended filing.

 

Official Form 106H

Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. if two married
people are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page, On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

 

1. Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.)
No
1:1 Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New l\/lexico, Puerto Rlco, Texas, Washington, and Wisconsin.)
l:l No. Go to line 3.
l:l Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

l:lNo

1:1 Yes. ln which community state or territory did you live? __. Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZlP Code

3. ln Column1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F(Official Form 106E/F), or Schedule G (Official Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.
Column 1.' Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that app|y:

gi

ill schedule D, line _

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
El schedule E/F, line _
Number Street l:l schedule c, line _
City State ZiP Code
3.2 l
|I] schedule o, line _
Name
l:l schedule E/F, line _
Number Street [l schedule G, line _
City State ZiP Code
3.3 l
l:l Schedule D, line _
Name
l:| schedule E/i=, line _
Number street l:l schedule c, line _
City State ZiP Code

 

Official Form 106H Schedule H: Your Codebtors page 1 of _1__

 

Case 18-10126-re»

Fill in this information to identify your case:

     

Debtor1 OGLOR K HALLER

First Name Middle Name Last Name

Debtor 2

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(Spouse, if l'iling) First Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN Districief lND|ANA

Case number
(if known)

 

 

Check if this is:
m An amended filing

 

Official Form 106l
Schedule l: Your income

m A supplement showing post-petition chapter 13
income as of the following date:

i\/|l\/l / DD /YYYY

12/15

Be as complete and accurate as possible. if two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing jointly, and your spouse is living with you, include information about your

spouse. if you are separated and your spouse is not filing with you, do not include
attach a separate sheet to this form. On the top of any additional pages, write your

m Describe Employment

information about your spouse, if more space is needed,
name and case number (if known). Answer every question.

 

Debtor 1

if you have more than one

job, attach a separate page E l d
with information about Employment status mp eye
additional employers m Not employed

include partetime, seasonal,

or self~emp|oyed work.
Occupation

Debtor 2 or non-filing spouse

m Employed
|:l Not employed

 

Occupation may include
student or homemaker, if it

Employer’s address

applies Employer’s name ` i\/iULTii\/iAT|C |ND|ANA |NC.

 

Number Street

Number Street

 

 

 

City State
How long employed there? 6 i\/iONTHS

Give Details About Monthly income

ZiP Code City State ZiP Code

 

spouse unless you are separated

need more space, attach a separate sheet to this form.

Estimate monthly income as of the date you file this form. if you have nothing to report for any line, write $0 in the space. include your non-filing

if you or your non-filing spouse have more than one empioyer, combine the information for all employers for that person on the lines below. if you

For Debtor 2 or

 

 

 

 

F°r Debtor1 non-filing spouse
2. List monthly gross wages, saiary, and commissions (before all
payroll deductions). if not paid monthiy, calculate what the monthly Wage
would be. 2_ $ 5,160.00 $ 0.00
3. Estimate and list monthly overtime pay. 3_ + $ 0.00 + $ 0.00
4. Calculate gross income. Add line 2 + line 3. 4. $ 5,160.00 $ 0.00

 

 

 

 

 

 

 

 

Official Form 106| Schedule l: Your income page 1

 

 

 

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Debtor1 OGLOR K_ HA[_LER Case number (if known)

First Name Middle Name Last Name

 

10.

11.

12.

13.

For Debtor 2 or

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For Debtor1 non-filing spouse

Copy line 4 here ................................................................ .-) 4. s 5,160.00 s 0.00
List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ 1,030.00 $ 0.00
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $ 0.00
50. Voluntary contributions for retirement plans 50. $ 170.00 $ 0.00
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ 0.00
5e. insurance 5e. $ 280.00 $ 0.00
5f. Domestic support obligations 5f. $ 0.00 $ 0.00
5g. Union dues 59` $ 0.00 $ 0.00
5h. Other deductions. Specify: .. 5h. +$ 0.00 +$ 0.00
Add the payroll deductions. Add lines 5a + 5b + 50 + 5d + 5e +5f+ 59 +5h 6. $ 1,480.00 $ 0.00
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 3,680.00 $ 0.00
List all other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total

monthly net income. 8a. $ 0.00 $ 0.00
8b. interest and dividends 8b. $ 0.00 0.00
8c. Family support payments that you, a non-filing spouse, or a

dependent regularly receive

include alimony, spousal suppoit, child support, maintenance

divorce seitiement, and property settlement 8c. $ 0.00 $ 0.00
8d. Unempioyment compensation 8d. $ 0.00 $ 0.00
8e. Social Security 8a. $ 0.00 $ 0.00
8f. Other government assistance that you regularly receive

include cash assistance and the value (if know) of any non-cash

assistance that you receive, such as food stamps (benetits under the

Supp|emental Nutrition Assistance Program) or housing subsidiesl

Specify: 8f. $ 0.00 0.00
89. Pension or retirement income 8g. $ 0.00 0.00
8h. Other monthly income. Specify: .. 8h. +$ 0.00 +$ 0.00
Add ali other income. Add lines 8a + 8b + 80 + 8d + 8c +8f +89 +8h 9_ $ 0.00 $ 0.00
Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $ 3,680.00 $ 0.00 = $ 3,680.00

 

 

 

 

 

 

 

State ali other regular contributions to the expenses that you list in Schedule J.

include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

 

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data. if it applies.

Do you expect an increase or decrease within the year after you file this form?
No.

11. + $ 0.00
12. $ 3,680.00
Combined

 

 

 

monthly income

 

l:i Yes. Explain:

 

 

Official Form 106| Schedule i: Your income

page 2

 

 

Case 18-10126-re»

Fill in this information to identify your case:

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Debtor1 OGLOR K. HALLER
First Name Middle Name Last Name
Check if this is:

Debtor 2 m

<spcuse. irnllng) l=lrelhleme Middle Name l.eeiName An amended filing

D_ m t fINDIANA i:l A supplement showing post-petition chapter 13
's c ° income as of the following date:

United States Bankruptcy Court for the: NORTHERN

 

Case number lVllVl / DD /YYYY

(ifknown)
i:l A separate ming for Debtor 2 because
Debtor 2 maintains a separate household

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Describe Your Household

 

1. is this a joint case?
Nc. co tc line 2.
m Yes. Does Debtor 2 live in a separate household?

L__l No.

l:i Yes. Debtor 2 must Hle a separate Schedule J.

 

2. Do you have dependents m NO

, X . . . . Dependent’s relationship to Dependent’s Does dependent live
DO not list Debtor 1 and Yes. Fll| out this information for Debtor1 or Debtor2 age With you?

Debtor 2. each dependent ...................

 

No
Yes
No
Yes
No
Yes
No
Yes
No
Yes

Do not state the dependents
names.

SON 7

SON 3

 

 

ElL-.ii_`_`|i:li:il:|H|:lH[i

 

 

3. Do your expenses include NO
expenses of people other
than yourself and your m yes
dependents?

 

`Part 2: Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date

include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Yourlncome (Official Form B 6l.) Y°W Expenses

 

4. The rental or home ownership expenses for your residence. include first mortgage

 

 

 

 

payments and any rent for the ground or |ot. 4. $ 700.00
if not included on line 4:

4a. Real estate taxes 4al $ 0.00
4b. Property, homeowner’s, or renter’s insurance 4b_ $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00
4d. Homeowner’s association or condominium dues 4d, $ 0.00

 

 

 

Official Form 106J Schedule J: Your Expenses page 1

 

 

 

Debtor 1

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OGLOR K. HALLER

First Name Middle Name Last Name

Case number (if known)

 

 

 

 

 

 

 

Your Expenses

 

 

 

 

5. Additional mortgage payments for your residence, such as home equity loans. 5.
6. Utiiities:
6a. Electricity, heat, natural gas 6a. 250.00
6b. Water, sewer, garbage collection 6b. 100.00
60. Telephone, cell phone, lnternet, satellite, and cable services 60. 310.00
6d. Other. Specify: 6d. 0.00
7. Food and housekeeping supplies 7. 900.00
8. Childcare and children’s educational costs 8. 770.00
9. Clothing, laundry, and dry cleaning 9. 150.00
10. Personal care products and services 10. 50.00
11. Medicai and dental expenses 11. 50.00
12. Transportation. include gas, maintenance, bus or train fare.
Do not include car payments 12. 450.00
13. Entertainment, clubs recreation, newspapers, magazines, and books 13. 0.00
14. Charitable contributions and religious donations 14. 0.00
15. lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. 0.00
15b. Health insurance 15b. 0.00
15c. Vehicle insurance 15c. 0.00
15d. Other insurance Specify: 15d. 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. 0.00
17. installment or lease payments:
17a. Car payments for Vehicie 1 17a. 0.00
17b. Car payments for Vehic|e 2 17b. 0.00
17c. Other. Specify: 17c. 0.00
17d. Other. Specify: 17d. 0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted
from you pay on line 5, Schedule I, Yourlncome (Official Form B 6l). 18. 0.00
19. Other payments you make to support others who do not live with you.
Specify: 19. 0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your/ncome:
20e. i\/iortgages on other property 20a. 0.00
20b. Real estate taxes 20b. 0.00
200. Property, homeowner’s, or renter’s insurance 200. 0.00
20d. i\/laintenance, repair, and upkeep expenses 20d. 0.00
20e. Homeowner’s association or condominium dues 20e. 0.00
Official Form 106J Schedule J: Your Expenses page 2

 

 

Case 18-10126-reg Doc 1 Filed 02/07/18 Page 40 of 41

Case number (if known)

Debtor 1 OG|_QR

First Name

K.
Middle Name

HALLER

Last Name

 

 

 

 

 

 

 

 

 

 

 

 

21. Other. Specify: 21. $ 0.00
22. Calculate your monthly expenses
22a. Add lines 4 through 21. $ 3,730.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2. $ O_OO `
220. Add lines 22a and 22b. The result is your monthly expenses 22. $ 3,730.00`
23. Calculate your monthly net income.
23a. Copy line 12 (your combined month/y income) from Schedule /. 23a. $ 3,680.00
23b. Copy your monthly expenses from line 22 above. 23b. -$ 3,730.00
230. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 230. $ ~50.00
24. Do you expect an increase or decrease in your expenses within the year after you file this form?:
For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification in the terms of your mortgage?
No.
l:l Yes. Explain here:
:Officia| Form 106J Schedule J: Your Expenses page 3

 

 

Case 18-10126-reg Doc 1 Filed 02/07/18 Page 41 of 41

Fill in this information to identify your case:

Debtor1 OGLOR K l-|A| | FR

First Name Middle Name Last Name

Debtor 2
(Spouse. if liiing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: NORTHERN Dlein'cicr lND|ANA

c h . . .
(l:l:reor&u`r)n er [:] Check if this is an
amended filing

 

 

 

Official Form 106Dec
Declaration About an individual Debtor’s Schedules one

if two married people are filing together, both are equally responsible for supplying correct information.

 

You must file this form whenever you file bankruptcy schedules or amended schedules Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341 , 1519, and 3571.

- Sign Beiow

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

-No

[] Yes. Name of person .Attach Bankruptcy Pet/'tion Preparer’s Notice, Dec/aration, and Signature
(Official Form 119).

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and that
they are true and correct.

>9) @PO%_` x

Signa o e tor1 SignatureofDebtorZ

><Date I”Zéc L& Date
M/DD/YYYY MM/DD/YYYY

 

 

 

 

Official Form 106Dec Dec|aration About an individual Debtor’s Schedules page 1

 

